      Case 8:04-cr-00297-SDM-TGW Document 223 Filed 04/06/06 Page 1 of 6 PageID 374
A 0 24513 (Rev 12103) Sheet I - Judgment in a Criminal Casc


                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STA'I'ES 01: AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                                                                           RE-SENTENCING

                                                              CASE NUMBER: 8:04-cr-297-T-23TGW
                                                              USM NUMBER: 42137-018
VS.




OSCAR ANDRES CARRERA
                                                              Defendant's Attorney: Duilio Espinosa-Montalban, cja

THE DEFENDANT:

-
X pleaded guilty to counts ONE and TWO of the Superseding Indictment.


TITLE & SECTION                               NATURE O F OFFENSE                          OFFENSE ENDED             COUNT

46 Appendix U.S.C. $$ 1903(a),               Conspiracy to Possess with intent to         June 28. 2004             ONE
1903(g), and 1903(j): and 21 U.S.C.          Distribute Five Kilograms or inore of
8 960(b)(l )(B)(ii)                          Cocaine while on board a Vessel Subject
                                             to the Jurisdiction of the United States

46 Appendix U.S.C. $$ 1903(a) and            Possess with Intent to Distribute Five       June 28, 2004             TWO
1903(g); 18 U.S.C. $ 2; and 21 U. S. C.      Kilograms or more of Cocaine while on
$ 960(b)(l)(B)(ii)                           board a Vessel Subject to the Jurisdiction
                                             of the United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is iniposed pursuant to the
Sentencing Reform Act of 1984.

X Counts ONE and TWO of the underlying Indictnienl arc dismissed in accordance with the plea agreement.
-
IT IS FURTI-IER ORDERED that the defendant shall notify the United States Attorney lor this district within 30 days of any change
of name, residence, or mailing address until all files, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, Lhe defendant shall notify the courl and United States Attorney of any material change in economic
circuinstances.


                                                                                Date of Imposition of Sentcncc: April 5, 2006




                                                                                                                                I
                                                                                    STEVEN D. MERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE
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A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:         OSCAR ANDRES CARRERA                                                                    Judgment - Page 2 of 6
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                 Thc defendant is hercby cornrnitled to the custody of the United Statcs Burcau of Prisons lo be
imprisoned for a total (ern1of ONE IIUNDRED TIIIRTY-Fn7E (135) MONTIIS as to cotlllts one and two of the Superseding
Indictment, both tcrllls to run c o ~ ~ c u r r e ~ ~ t l y .




-
X The court makes the following recommendations to the Bureau of Prisons: confinement at a facility offering the Unicor
employment prograni.


     The defendant is rerllarided to the custody of the United States Marshal.
-The defendant shall surrender to the Uni~edStates Marshal for this district.

                              -.
          - at - a.m.lp.111.OII
          -as ~~otilietl
                     by the United States Marsl~al.

- The defendant sl~allsurrcr~dcrfor service of sentence at the institution designated by the Bureau of Priso~ls.
         - beli~re2 p.111. 011-.
             as notified by tlie United St;~tesMarshal.
         - as ootilied by tlic Proh;~tio~~
                                       or Pretrial Services Office.




                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                 to

at                                                                       . with a certified copy of this judgment.

                                                                                        Unitcd States Marslial

                                                                      By:
                                                                                        Deputy Marshal
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A 0 245B (Rev. 12103) Sheet 3 - Supervised Releasc

Defendant:        OSCAR ANDRES CARREKA                                                                     Judgment - Page 3of 6
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                                                      SUPERVISED RELEASE

          Upon release from hnprisonnlent, the defendant shall be on supelvised release for a term of THIRTY-SIX (36) MOhTBS
as t o counts one and two of the Superseding Indictment, both terms t o r u n concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         Wliile on supervised release, the defendant shall not coniniil another federal, slate, o r local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 8 921.

X
-        The defendant shall not illegally possess a controlled substance. The mandatory drug testing requirements of the Violent Crime
         Co~ltrolAct are imposed. Based o n probation officer's determination that additional drug urinalysis is necessary, the
         Court authorizes random drug testing not LO exceed 104 lesls per year.

         If this judgment imposcs a fine o r a restitution it is a condirion of supervised release that the defendant pay in accordance with
         the Schedule of Payments sheet of this judgment.

         The defendant shall conlply with the standard conditions that have been adopted by this court as well as with any additional
         conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
1)       thc defendant shall not leave the judicial district without the pcrmission of the court or probation officer;

2)       the defendant shall report to the probation officer and shall submit a truthful and cornplete written report within the first five days
         of each month:

3)       the defendant shall answer truthfully all inquiries by the probation officcr and follow the instructions of the probation officer;

4)       the defendant shall support his or her dependents and meet other fanlily responsibilities:

5)       the dcfcndant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training, or other
         acceptable rcasons:

6)       the defendant shall notify thc probation officer at least ten days prior to any change in residence or employment:

7)       the defendant shall refrain from excessive use of alcohol m ~ dshall not purchase, possess, use, distribute, or administer any
         controlled subslancc or any paraphenialia related to any controlled substances, except as prcsc~ibedby a physician:

8)       the defendan1 shall not frequent places where controlled substances are illegally sold, used, distributcd, or administered;

9)       the defendant shall not associate with any persons cngaged in criminal activity and shall not associate with any person convicted of
         a felony, unless grantcd pelmission to do so by the probation officer:

10)      the defendant shall pcrn-lit a probation officer to visit him or hcr at any time at home or elsewhcrc and shall permit confiscation of
         any contraband observed in plain vicw of the probation officer:

1 1)     the defendant shall notify the probation officcr within seventy-two hours of bcing arrested or questioned by a law cnforcement
         officer;

12)      the defendant shall not cnter into any agreement to act as an informer or a special agent of a law cnforcernent agency without the
         permission of the court:

13)      as directed by thc probation officer. thc dcfcndant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
         rccord or personal history or characteristics and shall pcrmit thc probation officer to makc such notifications and to confirm the
         defendant's compliance with such notification reqlurement.
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A 0 245B (Rev. 12103) Sheer 3C - Supervised Release

Defendant:        OSCAR ANDRES CARRERA                                                                 Judgment - Page 4 of 6
Case No.:         8:04-cr-297-T-23TGW
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the followillg additiolul conditions of supervised release:


-
X        I f lhc defendant is deported, he shall not re-cnter t l ~ cU~litcdStates without thc express permission of the appropriate
         governmental authority, currently the United States Department of Homeland Security.
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A 0 245B (Rev 12/03) Shect 5   - Crimirial Monetary Penalties
Defendant:         OSCAR ANDRES CARKERA                                                                Judgment - Page 5 of 6
Case No.:          8:M-cr-297-T-23TGW

                                            CRIMINAL MONETARY PENALTIES

         The defendant must pay the total crinlinal monetary penalties under the schcdulc of payments on Shect 6.
                           Assessment                            Fine                         Total Restitution

         Totals:           $200.00                               $ waived


-        The determination of restitution is deferred until -.               An Atlzetzded Jridgnretzr in n Crittzitrnl Case (A0 245C) will
         be entered after such determination.
         The defendant 111ustmake restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approxi~llatelyproportioned payment, unless
         specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C.5
                                                                        d'
         3664(i), all non-federal victims must be paid before the nited States.
                                                                                                                Priority Order or
                                                  *Total                        Amount of                       Percentage of
Name of Pavcc                                   Amount of Loss               Restitution Ordered                Payment




                           Totals:              L                            L

-        Restitution amount ordered pursuant to plea agreement $
-        The defendant shall ay interest on any fine or restitution of n~orethan $2,500, unless thc restitution or fine is paid in full
         before the fifteenth   after the date ofthe judgment. pursuant to 18 U.S.C. § 3612(f). All ofthe payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).
-        The court determined hat the defendant does not have the ability to pay interest and it is ordered that:
         -         the interest requirement is waived for the - fine          - restitution.

         -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha rers 109A. 110, 1 10A, and 1 13A of Title 18 for the offenses
committed on or after September 13, 1994. but before April 23. 1996.
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A 0 245B (Rev 12/03) Sheer 6 - Schedule of Payn~ents

Defendant:        OSCAR ANDRES CARREKA                                                               Judgment - Page 6of 6
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                                                 SCI-IEDULEOF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.                Lump sum payment of $ 200.00 due immediately. balance due
                            -not later than                   , Or

                            -in accordance - C, - D, - E or - I? below: or
B.       -        Payment to begin immediately (may be combined with -C, -D, or -F below); or
C.       -        Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of             e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                  date of this judgme!t; or
D.       -        Payment in equal                   (e.i.. weekly. nlonthly. quarterly) installments of S             over a
                  period of             , (e .g ., nlon 1s or years) to corlmence                   (e.g. 30 or 60 days) after
                  release from i~nprisonrnentto a term of supervision; or
E.                Payment during the term of supervised release will commence within                         (e.g.. 30 or
                  60 days) after release from in~prisonment.The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that rime, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment imposes a period of
         5                              k                            f
monetar penalties is due during im risonment. All cri~ninamonetary penalties,
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made
                                                                                                                      made through the

The defendant shall receive credit for all payments previously made toward any criminal nlonetary penalties i~nposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal. (3) restitution interest, (4) fine principal,
(5) comn~unityrestitution, ( 6 ) line interest (7) penalties, and (8) costs, including cost of prosecurion and court costs.
